
287 S.W.3d 556 (2008)
In re Larry Gene DUNKLIN, Surrender of Law License-Arkansas Bar No. 81051.
No. 08-1055.
Supreme Court of Arkansas.
September 18, 2008.
PER CURIAM.
On recommendation of the Supreme Court Committee on Professional Conduct, we hereby accept the sworn petition and voluntary surrender of law license of Larry Gene Dunklin, of Little Rock, Arkansas, to practice law in the State of Arkansas. Mr. Dunklin's name shall be removed from the registry of attorneys licensed by the State of Arkansas, and he is barred and enjoined from engaging in the practice of law in this state.
It is so ordered.
